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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

DUSTIN WARNOCK                                                                     PLAINTIFF


v.                               Case No. 4:19-cv-00813-LPR


CAPITAL CITY TRAFFIC CONTROL LLC, and                                           DEFENDANTS
JAY MUNIZ


                                            ORDER

       Before the Court is Plaintiff’s Second Motion for Extension of Time for Service of Process

and Motion for Alternative Service. (Doc. 5). Plaintiff Dustin Warnock brings his Complaint

against Capital City Traffic Control, LLC, and Mr. Jay Muniz, its owner and manager. (Doc. 1).

Mr. Muniz is also the corporate defendant’s registered agent for service of process. (Doc. 5).

Mr. Warnock originally had until February 18, 2020 to execute service on the Defendants. After

Mr. Warnock demonstrated good cause, the Court granted an extension of time until March 19,

2020. (Doc. 4).

       Mr. Warnock has still been unable to serve process on the Defendants. This is not for lack

of effort. Mr. Warnock hired two licensed process servers, Jeff Barnett and Jerome Mitchell.

(Doc. 5). Neither process server has been able to execute service despite multiple attempts to do

so. Id. However, Mr. Warnock has identified and verified the personal address for Mr. Muniz

as 620 Grant County Road 43, Sheridan, Arkansas 72150. (Doc. 7). As a result, the Court

GRANTS the Motion for Extension of Time for Service of Process and Motion for Alternative

Service.

       IT IS THEREFORE ORDERED that:

       1.      Plaintiff Dustin Warnock has thirty (30) days from the date of this Order to serve
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process on Defendants.

       2.       Plaintiff Dustin Warnock is authorized to serve process on Defendants by an

alternative method of service, provided that he uses both methods that he has suggested. This

means he must serve process by U.S.P.S. First Class mail and delivery by taping the Summonses,

Complaint, all current filings in this case, and this Court’s Order permitting alternative service on

the door of Defendant Jay Muniz’s residence (620 Grant County Road 43, Sheridan, Arkansas

7215). Mr. Warnock must provide, by each method of service, two sets of documents: one set of

documents for separate defendant Mr. Muniz and one for separate defendant Capital City Traffic

Control, LLC.

       Dated this 17th day of March 2020.


                                                           ________________________________
                                                           UNITED STATES DISTRICT JUDGE




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